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 1                                                            Electronically Filed: September 13, 2018
 2   ANDERSEN LAW FIRM, LTD.
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     Email: ryan@vegaslawfirm.legal
 4   Ani Biesiada, Esq.
     Nevada Bar No. 14347
 5   Email: ani@vegaslawfirm.legal
     101 Convention Center Drive
 6   Suite 600
     Las Vegas, Nevada 89109
 7
     Phone: 702-522-1992
 8   Fax: 702-825-2824

 9   Attorneys for Worldpay, Inc.

10
                                 UNITED STATES BANKRUPTCY COURT
11
                                           DISTRICT OF NEVADA
12
      In re:                                          Case No.: 18-14683-LEB
13
                                                      Chapter 11
14    GUMP’S HOLDINGS, LLC,
                                                      Jointly administered with:
15               Affect this Debtor.                 No.: 18-14684-LEB (In re Gump’s Corp.)
                                                      No.: 18-14685-LEB (In re Gump’s By Mail, Inc.)
16
                 Affects all Debtors.
                 Affects Gump’s Corp.               CERTIFICATE OF SERVICE
17
                 Affects Gump’s By Mail, Inc.
18             1.   On September 13, 2018, I caused to be served the following document(s):
19
                  a. NOTICE OF APPPEARANCE AND REQUEST FOR SPECIAL NOTICE (ECF No.
20                   168).

21           2.    I served the above-named document(s) by the following means upon the persons as
     listed below:
22

23             [X]    a. BY ECF SYSTEM:

24             RYAN A. ANDERSEN on behalf of Interested Party WORLDPAY, INC.
               ryan@vegaslawfirm.legal,tatiana@vegaslawfirm.legal;ecf-
25             df8b00a4597e@ecf.pacerpro.com;notices@nextchapterbk.com
26
               SHAWN CHRISTIANSON on behalf of Creditor Oracle America, Inc.
27             schristianson@buchalter.com, cmcintire@buchalter.com



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        DONLIN, RECANO & COMPANY, INC. (lj)
 1      nefrecipients@donlinrecano.com, ecalderon@donlinrecano.com
 2
        SCOTT D. FINK on behalf of Creditor TOYOTA INDUSTRIES COMMERCIAL FINANCE,
 3      INC. bronationalecf@weltman.com

 4      STEVEN E FOX on behalf of Interested Party CONTRACTUAL JOINT VENTURE
        FORMED BY HILCO MERCHANT RESOURCES, LLC AND GORDON BROTHERS
 5      RETAIL PARTNERS, LLC
 6      sfox@riemerlaw.com, dromanik@riemerlaw.com

 7      GABRIELLE A. HAMM on behalf of Debtor GUMP'S BY MAIL, INC.
        ghamm@Gtg.legal, bknotices@gtg.legal
 8
        GABRIELLE A. HAMM on behalf of Debtor GUMP'S CORP.
 9
        ghamm@Gtg.legal, bknotices@gtg.legal
10
        GABRIELLE A. HAMM on behalf of Debtor GUMP'S HOLDINGS, LLC
11      ghamm@Gtg.legal, bknotices@gtg.legal

12      GABRIELLE A. HAMM on behalf of Jnt Admin Debtor GUMP'S BY MAIL, INC.
        ghamm@Gtg.legal, bknotices@gtg.legal
13

14      GABRIELLE A. HAMM on behalf of Jnt Admin Debtor GUMP'S CORP.
        ghamm@Gtg.legal, bknotices@gtg.legal
15
        H STAN JOHNSON on behalf of Creditor EXPEDITORS INTERNATIONAL OF
16      WASHINGTON, INC.
        sjohnson@cohenjohnson.com,
17
        calendar@cohenjohnson.com;rjohnson@cohenjohnson.com;sgondek@cohenjohnson.com
18
        BART K. LARSEN on behalf of Creditor STERLING BUSINESS CREDIT, LLC
19      blarsen@klnevada.com,
        bankruptcy@klnevada.com;mbarnes@klnevada.com;blarsen@ecf.inforuptcy.com
20

21      BRYAN A. LINDSEY on behalf of Creditor Committee THE OFFICIAL COMMITTEE OF
        UNSECURED CREDITORS
22      bryan@nvfirm.com, schwartzecf@gmail.com

23      EDWARD M. MCDONALD on behalf of U.S. Trustee U.S. TRUSTEE - LV - 11
        edward.m.mcdonald@usdoj.gov
24

25      JEANETTE E. MCPHERSON on behalf of Creditor SEAKER & SONS, A CALIFORNIA
        PARTNERSHIP
26      bkfilings@s-mlaw.com

27      JEANETTE E. MCPHERSON on behalf of Interested Party SEAKER & SONS
        bkfilings@s-mlaw.com

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 1      WILLIAM M. NOALL on behalf of Debtor GUMP'S BY MAIL, INC.
 2      bknotices@gtg.legal, wnoall@gtg.legal

 3      WILLIAM M. NOALL on behalf of Debtor GUMP'S CORP.
        bknotices@gtg.legal, wnoall@gtg.legal
 4
        WILLIAM M. NOALL on behalf of Debtor GUMP'S HOLDINGS, LLC
 5      bknotices@gtg.legal, wnoall@gtg.legal
 6
        WILLIAM M. NOALL on behalf of Jnt Admin Debtor GUMP'S BY MAIL, INC.
 7      bknotices@gtg.legal, wnoall@gtg.legal

 8      WILLIAM M. NOALL on behalf of Jnt Admin Debtor GUMP'S CORP.
        bknotices@gtg.legal, wnoall@gtg.legal
 9

10      SAMUEL A. SCHWARTZ on behalf of Creditor Committee THE OFFICIAL COMMITTEE
        OF UNSECURED CREDITORS
11      saschwartz@bhfs.com,
        ECF@bhfs.com;schwartzsr45599@notify.bestcase.com;sheacr80693@notify.bestcase.com;cs
12      hea@bhfs.com
13
        JAMES PATRICK SHEA on behalf of Creditor STERLING BUSINESS CREDIT, LLC
14      jshea@klnevada.com, mbarnes@klnevada.com;bankruptcy@klnevada.com

15      JEFFREY G. SLOANE on behalf of Creditor TOYOTA INDUSTRIES COMMERCIAL
        FINANCE, INC. jeff@jsloanelaw.com;kristi@jsloanelaw.com
16
        MICHAEL ST. JAMES on behalf of Creditor SEAKER & SONS, A CALIFORNIA
17
        PARTNERSHIP Michael@stjames-law.com
18
        MICHAEL ST. JAMES on behalf of Interested Party SEAKER & SONS
19      Michael@stjames-law.com
20      ELIZABETH E. STEPHENS on behalf of Interested Party CONTRACTUAL JOINT
21      VENTURE FORMED BY HILCO MERCHANT RESOURCES, LLC AND GORDON
        BROTHERS RETAIL PARTNERS, LLC
22      rudolph@sullivanhill.com;hill@sullivanhill.com;millerick@sullivanhill.com;dabbieri@sulliv
        anhill.com;bkstaff@sullivanhill.com;stephens@ecf.courtdrive.com;Hawkins@sullivanhill.co
23      m
24      U.S. TRUSTEE - LV - 11
25      USTPRegion17.lv.ecf@usdoj.gov

26      MARK M. WEISENMILLER on behalf of Debtor GUMP'S BY MAIL, INC.
        mweisenmiller@gtg.legal, bknotices@gtg.legal
27
        MARK M. WEISENMILLER on behalf of Debtor GUMP'S CORP.

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        mweisenmiller@gtg.legal, bknotices@gtg.legal
 1

 2      MARK M. WEISENMILLER on behalf of Debtor GUMP'S HOLDINGS, LLC
        mweisenmiller@gtg.legal, bknotices@gtg.legal
 3
        MARK M. WEISENMILLER on behalf of Jnt Admin Debtor GUMP'S BY MAIL, INC.
 4      mweisenmiller@gtg.legal, bknotices@gtg.legal
 5      MARK M. WEISENMILLER on behalf of Jnt Admin Debtor GUMP'S CORP.
 6      mweisenmiller@gtg.legal, bknotices@gtg.legal

 7      [ X ] b. UNITED STATES MAIL, POSTAGE FULLY PREPAID

 8      JUDITH W. ROSS on behalf of Creditor STERLING BUSINESS CREDIT, LLC
        THE LAW OFFICES OF JUDITH W. ROSS
 9
        700 NORTH PEARL STREET, SUITE 1610
10      DALLAS, TX 75201

11      CONNOR H. SHEA on behalf of Creditor Committee THE OFFICIAL COMMITTEE OF
        UNSECURED CREDITORS
12      BROWNSTEIN HYATT FARBER SCHRECK, LLP
        100 NORTH CITY PARKWAY, SUITE 1600
13
        LAS VEGAS, NV 89106-4614
14
        GERARD SILVA
15      35283 FARNHAM DR.
        NEWARK, CA 94560
16
        [ ]     d. PERSONAL SERVICE:
17
        I personally delivered the document(s) to the persons at these addresses:
18
        [ ]     For a party represented by an attorney, delivery was made by handing the
19      document(s) to the attorney or by leaving the document(s) at the attorney’s office with
        a clerk or other person in charge, or if no such person was available by leaving the
20      document(s) in a conspicuous place in the office.
21
        [ ]    For a party, delivery was made by handing the documents(s) to the party or by
22      leaving the document(s) at the persons dwelling house or usual place of abode with
        someone of suitable age and discretion residing there.
23
        [ ]     e. DIRECT EMAIL (as opposed to through the ECF System):
24      Based upon a written agreement to accept service by email or pursuant to a court order,
25      I caused the document(s) to be sent to the persons at the email addresses listed below.
        I did not receive, within a reasonable time after transmission, any electronic message
26      or other indication that the transmission was unsuccessful.

27      [ ]    f. FAXSIMILE:


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           Based upon the written agreement of the parties to accept service by fax transmission
 1         or pursuant to a court order, I caused the document(s) to be faxed to the persons at the
 2         fax numbers listed below. No error was reported by the fax machine that I used. A
           copy of the record of the fax transmission is attached hereto.
 3

 4          [ ]    g. MESSENGER:
           I served the document(s) by placing them in an envelope or package addressed to the
 5         persons at the addresses listed below and providing them to a messenger for delivery
 6         and service. A declaration by the messenger is attached to this certificate of service.

 7   I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
 8   CORRECT.

 9   Signed on:   September 13, 2018
      Melissa Arana-Renderos                    /s/ Melissa Arana-Renderos
10    (Name of Declarant)                       An employee of Andersen Law Firm, Ltd.
11

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